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          8

          9                               UNITED STATES BANKRUPTCY COURT
          10                               CENTRAL DISTRICT OF CALIFORNIA
          11                                       LOS ANGELES DIVISION
          12
               In re                                                 Case No. 2:21-bk-11300-VZ
          13
               GHBW,                                                 Chapter 7
          14
                                      Debtor.                        Adv. No. 2:22-ap-________
          15

          16   JOHN P. PRINGLE, Chapter 7 Trustee,                   COMPLAINT FOR AVOIDANCE AND
                                                                     RECOVERY OF PREFERENTIAL
          17                                                         TRANSFERS
                                      Plaintiff,
          18
               v.
          19                                                         [11 U.S.C. §§ 547, 550, 551]

          20   GLOBAL MERCHANT CASH INC.,

          21
                                      Defendant.
          22

          23

          24           John P. Pringle, the duly appointed and acting Chapter 7 Trustee (the “Trustee”) for the
          25   bankruptcy estate (the “Estate”) of GHBW (the “Debtor”), hereby complains and alleges against
          26   Global Merchant Cash Inc. (the “Defendant”) as follows:
          27   ///
          28


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          1                                           NATURE OF ACTION

          2              1.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 151, 157(b)(1) and

          3    (2), and 1334, as well as General Order No. 13-05 of the District Court for the Central District of

          4    California, on the basis that this action is a “core” proceeding as defined by 28 U.S.C. §§

          5    157(b)(2)(A), (F), and (O), and arises in or under the involuntary Chapter 7 bankruptcy case

          6    identified as In re GHBW, Bankruptcy Case Number 2:21-bk-11300-VZ (the “Bankruptcy Case”),

          7    currently pending before this Court. The Trustee consents to entry of final orders or judgment by

          8    this Court.

          9              2.   Before February 18, 2021 (the “Petition Date”), the Debtor was engaged in

          10   commercial activities as a general contractor and was involved in the remodeling of several homes

          11   throughout Los Angeles County.

          12             3.   Based on the Trustee’s investigation and review of the Debtor’s records available,

          13   including the Debtor’s bank statements and bankruptcy disclosures, the Defendant received

          14   payments and transfers from the Debtor within 90 days of the Petition Date in the Bankruptcy Case.

          15             4.   Specifically, between December 2020 and January 2021, the Debtor made

          16   approximately 5 payments totaling $55,284.10 to the Defendant (the “Transfers”).

          17             5.   The Transfers paid to the Defendant are avoidable and recoverable for the benefit of

          18   the bankruptcy estate and its creditors as preferential transfers under 11 U.S.C. § 547.

          19             6.   By this action, the Trustee seeks an order of judgment determining that the total

          20   amount received by the Defendant is a preferential transfer, avoiding the Transfers totaling

          21   $55,284.10, and permitting the Trustee to recover such property for the benefit of the bankruptcy

          22   estate.

          23             7.   Pursuant to 11 U.S.C. §§ 547, 550, and Rule 7001 of the Federal Rules of Bankruptcy

          24   Procedure, the Trustee is seeking to avoid and recover the total preferential transfers paid by the

          25   Debtor to the Defendant within 90 days of the bankruptcy petition date.

          26                         STATEMENT OF JURISDICTION AND STANDING

          27             8.   Venue in this Court is proper pursuant to 28 U.S.C. § 1409(a), as this adversary

          28   proceeding arises in or under a case under Title 11 of the United States Code (beginning at 11 U.S.C.

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          1    § 101, et seq., the “Bankruptcy Code”) which is pending in this judicial District.

          2           9.      The Trustee has standing to bring this adversary proceeding on behalf of the Estate

          3    pursuant to 11 U.S.C. §§ 547, 704(a)(1), Rule 7001 of the Federal Rules of Bankruptcy Procedure,

          4    and his appointment as the Chapter 7 Trustee for the Estate.

          5           10.     This adversary proceeding is brought pursuant to Rule 7001(1) of the Federal Rules

          6    of Bankruptcy Procedure and 11 U.S.C. §§ 547, 550.

          7                                                  PARTIES

          8           11.     The Trustee, who is the Plaintiff herein, brings this action solely in his capacity as the

          9    Chapter 7 Trustee for the Estate.

          10          12.     The Trustee is informed and believes, and based thereon alleges, that the Defendant

          11   Global Merchant Cash Inc. (hereafter, the “Defendant”) is, and at all relevant times herein

          12   mentioned was, a New York corporation that does business in the Central District of California.

          13                                GENERAL FACTUAL ALLEGATIONS

          14          13.     Petitioning creditors Dirtwork Engineering, Inc., Positive Energy Electrical

          15   Contractor, Inc. and Ono Development Group (collectively, “Petitioning Creditors”) filed the

          16   Involuntary Petition (the “Petition,” Bk. Docket No. 1) commencing the matter on February 18, 2021

          17   (the “Petition Date”) under Chapter 7 of Title 11 of the United States Code against GHBW (the

          18   “Debtor”).

          19          14.     Prior to the Petition Date, the Debtor was engaged in commercial activities as a

          20   general contractor and was involved in the remodeling of several homes throughout Los Angeles

          21   County.

          22          15.     On March 2, 2021, this Court issued the Summons on the Petition (the “Summons,”

          23   Bk. Docket No. 4) and scheduled a status conference in the case for April 22, 2021 at 10:00 a.m.

          24          16.     On March 6, 2021, the Petitioning Creditors served the Summons on all necessary

          25   parties (Bk. Docket No. 6). Pursuant to the Summons, the alleged Debtor’s answer to the Petition

          26   was due 21 days from the date of service of the Summons.

          27          17.     The alleged Debtor did not file an answer to the Petition, but rather the Petitioning

          28   Creditors and the Debtor entered into a stipulated agreement, wherein the parties agreed that the

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          1    Court should enter an Order for Relief in this involuntary case, which Stipulation was filed with the

          2    Court on March 30, 2021 (Bk. Docket No. 7), and approved pursuant to this Court’s Order entered

          3    on April 7, 2021 (Bk. Docket No. 12).

          4            18.    The Order for Relief was entered by this Court on April 9, 2021 (Bk. Docket No. 13),

          5    and thereafter, on April 13, 2021, John P. Pringle was appointed as the chapter 7 trustee of the Estate

          6    (the “Trustee”), in which capacity he continues to serve.

          7            19.    Between December 2020 and January 2021, the Debtor paid $55,284.10 to the

          8    Defendant as follows:
                   Transfer Date Transfer Amount Transfer Information
          9        12/30/2020       $11056.82    Dec. 2020 Bank Stmt.ACH Debit - GLOBAL
                                                 MERCHANT/GLOBAL MER ID#CLIENT-
          10                                     58561
                   1/6/2021         $11056.82    Jan. 2021 Bank Stmt.ACH Debit - GLOBAL
          11                                     MERCHANT/GLOBAL MER ID#CLIENT-
                                                 58561
          12       1/14/2021        $11056.82    Jan. 2021 Bank Stmt.NSF PAID ITEM EFF 01-13
                                                 - GLOBAL MERCHANT/GLOBAL MER
          13                                     ID#CLIENT-58561
                   1/20/2021        $11056.82    Jan. 2021 Bank Stmt.ACH Debit - GLOBAL
          14                                     MERCHANT/GLOBAL MER ID#CLIENT-
                                                 58561
          15       1/27/2021        $11056.82    Jan. 2021 Bank Stmt.ACH Debit - GLOBAL
                                                 MERCHANT/GLOBAL MER ID#CLIENT-
          16                                     58561
          17

          18           20.    Upon the Trustee’s requests for further information, the Defendant failed to respond
          19   or provide any information regarding the Transfers.
          20                                      FIRST CLAIM FOR RELIEF
          21                                   Avoidance of Preferential Transfers
          22                                            Against Defendant
          23                                             [11 U.S.C. § 547]
          24           21.    The Trustee realleges and incorporates by reference each and every allegation set
          25   forth in paragraphs 1 through 20, inclusive as though fully set forth herein.
          26           22.    Before the Petition Date, the Defendant was a creditor of the Debtor.
          27           23.    The Transfers are transfers of the Debtor’s property within 90 days of the Petition
          28   Date.

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          1           24.     The Transfers have enabled the Defendant to receive more than it would have

          2    received if the Transfers had not been made and if the Defendant were paid as a creditor according to

          3    the Bankruptcy Code’s provisions in the underlying Bankruptcy Case.

          4           25.     Based on the Trustee’s investigation and review of the Debtor’s records available,

          5    including the Debtor’s bank statements and bankruptcy disclosures, the Transfers appears to be to or

          6    for the benefit of the Defendant on account of an antecedent debt owed by the Debtor to the

          7    Defendant before the Transfers were made.

          8           26.     The Transfers were made while the Debtor was “insolvent,” as defined under 11

          9    U.S.C. § 101(32).

          10          27.     Based on the reasonable due diligence of the Trustee under the circumstances of this

          11   case, the Defendant does not have any reasonably knowable defenses that would prevent the

          12   avoidance of the Transfers.

          13          28.     The Transfers are avoidable under 11 U.S.C. § 547 as preferential transfers.

          14          29.     The Trustee is entitled to judgment avoiding the Transfers to the Defendant.

          15                                     SECOND CLAIM FOR RELIEF

          16                       Recovery and Preservation of Avoided Preferential Transfers

          17                                             Against Defendant

          18                                        [11 U.S.C. §§ 547, 550, 551]

          19          30.     The Trustee realleges and incorporates by reference each and every allegation set

          20   forth in paragraphs 1 through 29, inclusive as though fully set forth herein.

          21          31.     To the extent the Transfers are avoided under 11 U.S.C. § 547, the Trustee is entitled

          22   to recover the funds of the Transfers, or otherwise the value of the Transfers, for the benefit of the

          23   bankruptcy estate.

          24          32.     The Trustee is entitled to recover the value of the Transfers from the Defendant or

          25   any immediate or mediate transferee of the Defendant that lacks good faith pursuant to 11 U.S.C. §

          26   550.

          27          33.     The Trustee may preserve the avoided Transfers for the benefit of the estate pursuant

          28   to 11 U.S.C. § 551.

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          1                                            PRAYER FOR RELIEF

          2           WHEREFORE, the Trustee prays for judgment against Defendant Global Merchant Cash

          3    Inc. as follows:

          4           1.        On the First Claim for Relief, for a judgment avoiding the Transfers to the Defendant

          5    in the amount of $55,284.10;

          6           2.        On the Second Claim for Relief, for a judgment recovering the value of the Transfers

          7    from the Defendant and preserving the Transfers for the benefit of the estate;

          8           3.        For costs of suit incurred herein; and

          9           4.        For such other and further relief as the Court deems just and proper under the

          10   circumstances.

          11

          12   DATED: February 24, 2022                      BG LAW LLP

          13
                                                             By: /s/ Ryan F. Coy
          14
                                                                 MICHAEL P. WEISBERG
          15                                                     RYAN F. COY
                                                                 Attorneys for John P. Pringle, Chapter 7 Trustee
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